     Case 7:22-cv-01390-NSR-JCM                    Document 34    Filed 03/31/25    Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X

DOBRYKOV,

                                   Plaintiff(s),                        ORDER

                 - against -                                            22 Civ. 1390 (NSR)

BRICKHOUSE FOOD LLC, et al.,

                                   Defendant(s).

--------------------------------------------------------------X

Nelson S. Román, U.S.D.J.:

                 Due to the passage of the dates in the Parties’ proposed Case Management Plan at

ECF No. 32, the Parties are directed to submit a revised Case Management Plan (blank form

attached) to the Court by April 7, 2025. Meanwhile, the Court will issue an Order of Reference to

Magistrate Judge Judith C. McCarthy for general pretrial purposes.




                                                                  SO ORDERED.
Dated:           White Plains, New York
                 March 31, 2025


                                                                  Nelson S. Román, U.S.D.J.




               3/31/2025
      Case 7:22-cv-01390-NSR-JCM                   Document 34    Filed 03/31/25    Page 2 of 3




UNITED STATES DISTRICT COURT                                                   Rev. Jan. 2012
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                                             REVISED
                                                                 CIVIL CASE DISCOVERY PLAN
                                             Plaintiff(s),       AND SCHEDULING ORDER
          - against -


                                               Defendant(s).            CV                  (NSR)

-------------------------------------------------------------x

 This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with counsel,
pursuant to Fed. R. Civ. P. 16 and 26(f):

 1.       All parties [consent] [do not consent] to conducting all further proceedings before a
          Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c). The parties
          are free to withhold consent without adverse substantive consequences. (If all parties
          consent, the remaining paragraphs of this form need not be completed.)

 2.       This case [is] [is not] to be tried to a jury.

 3.       Joinder of additional parties must be accomplished by _______________________.

 4.       Amended pleadings may be filed until _____________________.

 5.       Interrogatories shall be served no later than ___________________, and responses thereto
          shall be served within thirty (30) days thereafter. The provisions of Local Civil Rule 33.3
          [shall] [shall not] apply to this case.

 6.       First request for production of documents, if any, shall be served no later than
          ____________________.

 7.       Non-expert depositions shall be completed by ____________________________.

          a.      Unless counsel agree otherwise or the Court so orders, depositions shall not be held
                  until all parties have responded to any first requests for production of documents.

          b.      Depositions shall proceed concurrently.

          c.      Whenever possible, unless counsel agree otherwise or the Court so orders, non-
                  party depositions shall follow party depositions.

 8.       Any further interrogatories, including expert interrogatories, shall be served no later than
          _______________________.



                                                        2
      Case 7:22-cv-01390-NSR-JCM           Document 34       Filed 03/31/25     Page 3 of 3




1.      Requests to Admit, if any, shall be served no later than ______________________.

10.     Expert reports shall be served no later than ______________________.

11.     Rebuttal expert reports shall be served no later than ______________________.

12.     Expert depositions shall be completed by ______________________.

13.     Additional provisions agreed upon by counsel are attached hereto and made a part hereof.

14.     ALL DISCOVERY SHALL BE COMPLETED BY ______________________.

15.     Any motions shall be filed in accordance with the Court’s Individual Practices.

16.     This Civil Case Discovery Plan and Scheduling Order may not be changed without leave
        of Court (or the assigned Magistrate Judge acting under a specific order of reference).

17.     The Magistrate Judge assigned to this case is the Hon. ___________________________.

18.     If, after entry of this Order, the parties consent to trial before a Magistrate Judge, the
        Magistrate Judge will schedule a date certain for trial and will, if necessary, amend this
        Order consistent therewith.

19.     The next case management conference is scheduled for _____________________, at
        ____________. (The Court will set this date at the initial conference.)




SO ORDERED.

Dated: White Plains, New York
       _______________________


                                                    Nelson S. Román, U.S. District Judge




                                              3
